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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                               2:09-cv-04414-SDW-MCA
     IN RE: ZIMMER DUROM HIP CUP
                                                                        MDL-2158
     PRODUCTS LIABILITY LITIGATION



                                      This Document Relates to:

                    Carrie Henry Sanders v. Zimmer, Inc.; Case No. 2:16-cv-05310

     DEFENDANT’S MOTION FOR ORDER TO SHOW CAUSE WHY CASE SHOULD
            NOT BE DISMISSED WITH PREJUDICE FOR FAILURE TO
               PARTICIPATE IN THE SETTLEMENT PROGRAM

          The defendant, Zimmer, Inc. (“Zimmer”), respectfully moves the Court for an order to

   show cause why this case filed by the plaintiff, Carrie Henry Sanders (“Plaintiff”), should not be

   dismissed with prejudice due to her failure to produce required documentation and medical

   records, and meaningfully participate in mediation, as required by the Settlement Program. In

   support, Zimmer states:

          1.      The Court ordered all plaintiffs with cases in this Durom Cup MDL to participate

   in the process established by the Settlement Agreement entered on February 11, 2016 (the

   “Settlement Program”). (See MDL Dkt. 925 and 975). Any individual plaintiff who fails to

   participate in the process is subject to a motion to dismiss with prejudice. (MDL Dkt. 925, ¶ 2).

          2.      A represented plaintiff is required to register and categorize for the Settlement

   Program by submitting Exhibit A and Exhibit C and complete medical records defined as (a)

   Implant product identification; (b) Implant surgeon records; (c) Implant hospital records; (d)

   Revision surgeon records; (e) Revision hospital records; and (f) Records to support any claim for

   an enhancement. (See Settlement Agreement, ¶ III. A.; Exhibit C, p. 4).
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             3.     Additionally, if a plaintiff alleges an extraordinary injury, he or she is required to

   submit Exhibit D and all documents supporting the allegation including (a) Complete records from

   the physician(s) treating the alleged injury; (b) Complete records from the hospital(s) treating the

   alleged injury; (c) A list of all medical providers from 10 years prior to the implant to the present;

   and (d) a signed HIPAA release. (See Settlement Agreement, ¶ III. A.; Exhibit D, p. 3). If the

   extraordinary injury includes allegations of permanent disability, the claim must also be supported

   by (e) a detailed physician report. (See Settlement Agreement, ¶ II. A. 4.; Exhibit D, p. 4).

             4.     Finally, if a plaintiff does not reach settlement after completing the categorization

   process, he or she is required to participate in mandatory mediation by submitting Exhibit F and

   additional supporting medical records including complete (1) X-rays before and after implant and

   revision; (2) Physical therapy records after implant and revision; and (3) Other records relevant to

   the analysis of any extraordinary injury claimed (e.g. pharmacy records).             (See Settlement

   Agreement, ¶ IV. A.; Exhibit F, p. 2).

             5.     Plaintiff filed her complaint on July 21, 2016, and it was removed to the Central

   District of California and transferred to the MDL on August 26, 2016. (Sanders Dkt. 1). On

   August 31, 2016, Zimmer notified Plaintiff of the Court’s order requiring participation in the

   Settlement Program. (Sanders Dkt. 16). Despite repeated attempts by Zimmer to encourage

   Plaintiff to participate in the Settlement Program, Plaintiff has refused to produce the required

   documentation and medical records and has not meaningfully participated in mediation.

             6.     Plaintiff provided medical records from the implant hospital on January 17, 2018, 1

   and submitted Exhibits A and C on May 8, 2018. (Declaration of Joshua Busch (“Busch Decl.”)




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       This production was limited to various imaging and imaging reports, implant hospital records
       from 2007 and 2008, and an income statement for 2015.


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   at ¶ 3, attached as Exhibit A). However, Plaintiff failed to submit complete medical records from

   the implant surgeon, the revision surgeon, or the revision hospital. (Id.) Moreover, despite

   requesting mediation and alleging extraordinary and permanent injury identified as continued pain

   and limitations requiring ongoing treatment and medication, Plaintiff failed to submit Exhibits D

   and F, the additional supporting medical records (including from treating physicians, physical

   therapists, and pharmacists), the list of past and present healthcare providers, the HIPAA

   authorization, or the required physician report. (Id.)

          7.      Plaintiff’s submission to the Settlement Program amounts to 66 pages of

   incomplete medical records from the implant hospital and five pages of incomplete medical

   records from the revision hospital. (Id.). The records are limited to one healthcare facility with

   obvious omission illustrated by missing page numbers and basic content including all records after

   revision surgery. (Id.).

          8.      Zimmer repeatedly notified Plaintiff that she had failed to submit the required

   documentation and medical records including by formal notice on December 27, 2018 and January

   20, 2019. (Id. at ¶ 4). Plaintiff was reminded that failure to participate in the Settlement Program

   may result in dismissal with prejudice. (Id.).

          9.      On January 30, 2019, Plaintiff’s counsel, Alvin Pittman, confirmed that he would

   try to provide the materials the next day, but he failed to do so. (Id. at ¶ 5). On February 12, 2019,

   Zimmer followed up on Plaintiff’s counsel promise to provide Exhibit D and required records. He

   did not respond. (Id. at ¶ 6).

          10.     In effort to move this case forward, Zimmer agreed on February 28, 2019, to

   schedule mediation with Gary Larsen in Sarasota, Florida, on the condition that the required

   materials would be provided in advance of mediation on May 31, 2019. (Id. at ¶ 6).




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          11.     However, two weeks before mediation, Plaintiff’s counsel had still not provided the

   required documentation and medical records. Zimmer continued to follow up on May 17, 2019,

   May 21, 2019, and May 23, 2019. (Id. at ¶ 8). On May 24, 2019, Plaintiff’s counsel again

   confirmed that he would provide the required materials. (Id.).

          12.     Two days before mediation, none of the required documentation and medical

   records had been produced. Plaintiff’s counsel responded to an additional follow up on May 29,

   2019, by emailing the same 66 pages of incomplete medical records from the implant surgery and

   the same five pages of incomplete medical records from the revision surgery. (Id. at ¶ 9).

          13.     Plaintiff’s counsel attended the mediation without the required documentation and

   medical records and without his client. (Id. at ¶ 10). He took the surprising position that he had

   submitted all required materials and informed Zimmer for the first time at mediation that his client

   was unable to travel. (Id. at ¶ 11). The mediator recommended ending the mediation after

   Plaintiff’s counsel could not produce what he claimed he submitted or any records whatsoever to

   support Plaintiff’s claims of ongoing medical treatment and his settlement demand. (Id. at ¶¶ 12).

          14.     Zimmer attempted to meet and confer with Plaintiff before filing this motion by

   offering a final opportunity to provide copies of the required documentation and medical records

   on July 9, 2019. Plaintiff’s counsel doubled down on his new claim that all required materials

   were submitted but again failed to ever produce copies. (Id. at ¶ 13).

          15.     For the foregoing reasons, Zimmer respectfully requests an order to show cause

   why Plaintiff’s case should not be dismissed with prejudice for failure to all required

   documentation and medical records and to meaningfully participate in mediation.




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   Dated: September 26, 2019         Respectfully submitted,
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                                    CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing document has been served upon all counsel

   of record via ECF this 26th day of September, 2019.



                                                 /s/ Andrew L. Campbell




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